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The Coast Guard’s ‘Floating Guantánamos’ - The New York Times   https://www.nytimes.com/2017/11/20/magazine/the-coast-guards-floatin...
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